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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE

       In re: LEADING EDGE LOGISTICS LLC                                 §   Case No. 14-11260-MFW
                                                                         §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       Alfred T. Giuliano, Trustee (DE)           , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             824 Market Street, 3rd Floor
             Wilmington, DE 19801

             Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 21 days from the mailing of this notice,
       serve a copy of the objections upon the trustee, any party whose application is being challenged
       and the United States Trustee. A hearing on the fee applications and any objection to the Final
       Report will be held at 02:00PM on 11/09/2022 in Courtroom 4, United States Courthouse,
       824 North Market Street, 5th Floor
       Wilmington, DE 19801.
       If no objections are filed, upon entry of an order on the fee applications, the trustee may pay
       dividends pursuant to FRBP 3009 without further order of the Court.


      Date Mailed: 10/04/2022                    By: /s/ Alfred T. Giuliano
                                                                                  Trustee
       Alfred T. Giuliano, Trustee (DE)
       2301 E. Evesham Road
       Pavilion 800, Suite 210
       Voorhees, NJ 08043
       (856) 767-3000




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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

             In re: LEADING EDGE LOGISTICS LLC                                              §       Case No. 14-11260-MFW
                                                                                            §
                                                                                            §
        Debtor(s)                                                                           §

                                  SUMMARY OF TRUSTEE'S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION


                    The Final Report shows receipts of                                          $       2,039,590.79

                    and approved disbursements of                                               $       1,937,364.82
                                                           1
                    leaving a balance on hand of                                                $         102,225.97

                                                         Balance on hand:                                   $              102,225.97
               Claims of secured creditors will be paid as follows:

Claim          Claimant                                       Claim Allowed Amount Interim Payments                           Proposed
No.                                                         Asserted       of Claim          to Date                          Payment
  5            Rolling Stone Logistics,                        900.00                   0.00                    0.00               0.00
               LLC
 54            CFS Logistics, Inc.                                0.00                  0.00                    0.00               0.00
 95            HDZ Transportation Co.                             0.00                  0.00                    0.00               0.00
 137           Coppell ISD                                        0.00                  0.00                    0.00               0.00
 137 -2        Coppell ISD                                        0.00                  0.00                    0.00               0.00
 138           Dallas County                                      0.00                  0.00                    0.00               0.00
 138 -2        Dallas County                                      0.00                  0.00                    0.00               0.00
 150 -2        Albaad USA, Inc.                                   0.00                  0.00                    0.00               0.00
 164           PNC Business Credit                     9,734,392.27          9,734,392.27             113,973.63                   0.00
 175           The Middleby Corporation                           0.00                  0.00                    0.00               0.00
               and Certain Affiliates
 178           RAC Welton, Inc.                          269,031.34                     0.00                    0.00               0.00
 180S          The Tranzonic Companies,                  158,248.69                     0.00                    0.00               0.00
               Inc.
 181           Carlisle Brake & Friction,                437,998.99                     0.00                    0.00               0.00
               Inc.

                1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
  earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
  receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
  account of the disbursement of the additional interest.

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  184         AW North Carolina Inc.                     0.00              0.00                0.00           0.00
  198         Oakland County Treasurer                   0.00              0.00                0.00           0.00
                                               Total to be paid to secured creditors:      $                0.00
                                               Remaining balance:                          $          102,225.97

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                               Total Requested Interim Payments       Proposed
                                                                                          to Date      Payment
Trustee, Fees - A. T. Giuliano, P.C.                                  84,437.72                0.00      84,437.72
Trustee, Expenses - A. T. Giuliano, P.C.                                 468.64                0.00         468.64
Attorney for Trustee, Fees - Pachulski Stang Ziehl & Jones         1,263,551.41     1,199,662.10          5,941.09
LLP
Attorney for Trustee, Expenses - Pachulski Stang Ziehl &              82,570.03         80,380.81         2,189.22
Jones LLP
Accountant for Trustee, Fees - Giuliano, Miller & Co.,               396,944.12       369,587.10          9,152.61
LLC
Accountant for Trustee, Expenses - Giuliano, Miller & Co.,             3,493.35          3,456.66            36.69
LLC
Other Fees: Cozen O'Connor                                            16,250.00         16,250.00             0.00
Other Expenses: Automatic Data Processing                                366.80           366.80              0.00
Attorney for Trustee Fees - Subranni Zauber LLC                       12,155.00         12,155.00             0.00
Attorney for Trustee Expenses - Subranni Zauber LLC                    2,513.88          2,513.88             0.00
Other Fees: Gavin/Solmonese, LLC                                       2,500.00          2,500.00             0.00
Other Fees: JNR Adjustment Company, Inc.                               5,537.50          5,537.50             0.00
Other Fees: Klehr Harrison Harvey Branzburg LLP                        1,171.00          1,171.00             0.00
Other Fees: The Bifferato Firm, P.A.                                  14,450.00         14,450.00             0.00
Other Expenses: Brett Bell                                             5,122.50          5,122.50             0.00
Other Expenses: Giuliano, Miller & Co., LLC                              133.75           133.75              0.00
Other Expenses: Hill Archive                                          21,764.50         21,764.50             0.00
Other Expenses: International Sureties, Ltd                            2,864.77          2,864.77             0.00
Other Expenses: Jason Mortiere                                         1,500.00          1,500.00             0.00
Other Expenses: KRM 525 Sam Houston LLC                                  340.00           340.00              0.00
Other Expenses: Klehr Harrison Harvey Branzburg LLP                        1.50                1.50           0.00
Other Expenses: Liberty NOE, LLC                                       5,563.50          5,563.50             0.00
Other Expenses: M2 Technology                                          5,106.00          5,106.00             0.00




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Other Expenses: Michael Infanti                                        475.00             475.00               0.00
                            Total to be paid for chapter 7 administration expenses:       $          102,225.97
                            Remaining balance:                                            $                0.00

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                              Total Requested Interim Payments        Proposed
                                                                                        to Date       Payment
                                                       None
                            Total to be paid for prior chapter administrative expenses:   $                  0.00
                            Remaining balance:                                            $                  0.00

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $45,367.78 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                        Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
  13P         Lower 48 Transport, LLC                                     0.00                0.00             0.00
  18          Blue Chip Hotshot, LLC                                      0.00                0.00             0.00
  26          SLS Trucking, Inc.                                          0.00                0.00             0.00
  34          S&D Transport, LLC                                       450.00                 0.00             0.00
  36          RGM Transport, LLC                                       950.00                 0.00             0.00
  37          Odom Transport Services, LLC                             700.00                 0.00             0.00
  38          Greenline Express Inc.                                      0.00                0.00             0.00
  40          Sun Logistics Corp.                                         0.00                0.00             0.00
  46          Sampson Transport, LLC                                      0.00                0.00             0.00
  47          Sampson Transport, LLC                                      0.00                0.00             0.00
  67          Vieths Trucking, Inc.                                       0.00                0.00             0.00
  75P         Brother's Transportation LLC                                0.00                0.00             0.00
  76          Blue Diamond Trucking, Inc.                             4,200.00                0.00             0.00
  77          W. Carl Trigg Trucking                                      0.00                0.00             0.00
  90          Transport Guilbault International Inc.                  2,000.00                0.00             0.00
  94          First Class Transports, LLC                                 0.00                0.00             0.00
  108         So-Low Specialized, LLC                                     0.00                0.00             0.00
  131         GRT Trucking                                            1,275.00                0.00             0.00
  137 -3      Coppell ISD                                              301.35                 0.00             0.00




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 138 -3        Dallas County                                             278.11                 0.00              0.00
 192           Maekol Trucking                                             0.00                 0.00              0.00
 193           Kullar Brothers, Inc.                                   2,850.00                 0.00              0.00
 198           Oakland County Treasurer                                    0.00                 0.00              0.00
 199           Texas Comptroller of Public Accounts                    5,538.32                 0.00              0.00
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 11,952,017.89 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            Carrier Cash, LLC dba Pay4Freight.com                  58,580.00                 0.00              0.00
  2A           Con-Way Freight                                      511,884.82                  0.00              0.00
  2B           Quickie Manufacturing Corporation                           0.00                 0.00              0.00
  3            Central Freight Lines, Inc.                                 0.00                 0.00              0.00
  3 -2         Central Freight Lines, Inc.                             4,565.36                 0.00              0.00
  4            Kreischer Miller                                            0.00                 0.00              0.00
  4 -2         Kreischer Miller                                       45,160.00                 0.00              0.00
  5            Rolling Stone Logistics, LLC                              900.00                 0.00              0.00
  6            TRX, Inc.                                               2,991.60                 0.00              0.00
  7            R.E. Building LLC c/o Centennial Bank                  10,500.00                 0.00              0.00
  8            Quality Transportation NY, LLC                          1,800.00                 0.00              0.00
  9            Doug Davidson Trucking                                 11,700.00                 0.00              0.00
 10            Afar Trucking, Inc.                                       760.00                 0.00              0.00
 11            Cargo Solution Express Inc                              4,400.00                 0.00              0.00
 12            ECH Transport, LLC                                      3,500.00                 0.00              0.00
 13U           Lower 48 Transport, LLC                                   140.00                 0.00              0.00
 14            Greentree Logistics, Inc.                               6,400.00                 0.00              0.00
 15            CPL Trucking, LLC                                         600.00                 0.00              0.00




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16      Global Transport, Inc.                            3,000.00          0.00       0.00
17      B & M Logistics, Inc                              1,800.00          0.00       0.00
19      Building Systems Transportation Co                1,500.00          0.00       0.00
20      Stack Transportation                                  0.00          0.00       0.00
20 -2   Stack Transportation                              1,577.74          0.00       0.00
21      DNN Transport, LLC                                1,500.00          0.00       0.00
22      T. J. Potter Trucking, Inc.                       1,500.00          0.00       0.00
23      P.G.I. Trucking                                    800.00           0.00       0.00
24      WIT Transportation, LLC                           3,000.00          0.00       0.00
25      Polux Transportation                             26,050.00          0.00       0.00
27      Van's Delivery Service, Inc.                      2,000.00          0.00       0.00
28      White Star Trucking Lines                        37,740.37          0.00       0.00
29      Tryon Trucking Inc.                               5,800.00          0.00       0.00
30      B & T Mail Service, Inc.                          1,075.00          0.00       0.00
31      N.E.W. Transportation Group                       1,050.00          0.00       0.00
32      J&J Trucking, Inc.                               21,273.00          0.00       0.00
33      J&J Trucking, Inc.                               21,273.00          0.00       0.00
35      Indy Specialized Transport Inc.                    450.00           0.00       0.00
39      RT 80 Express Inc.                                2,600.00          0.00       0.00
41      CPG Enterprises of Orlando                         675.00           0.00       0.00
42      Hillyard Farms                                    3,550.00          0.00       0.00
43      Jantz, Inc.                                       3,350.00          0.00       0.00
44      Del Logistics & Transport                         5,000.00          0.00       0.00
45      Shaker Enterprises                                1,750.00          0.00       0.00
48      Canal City Transport                              3,400.00          0.00       0.00
49      Cowtown Express                                   2,700.00          0.00       0.00
50      AVL Transport LLC                                 2,550.00          0.00       0.00
51      Daily Express, Inc.                               4,106.34          0.00       0.00
52      All States World Cargo, Inc.                       800.75           0.00       0.00
53      Gerdau                                             725.00           0.00       0.00
54      CFS Logistics, Inc.                               2,850.00          0.00       0.00
55      4K Cartage                                        1,396.30          0.00       0.00
56      Adams Trucking, Inc.                              2,900.00          0.00       0.00




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57      Bibler Co                                          7,720.00         0.00       0.00
58      SJ Cargo, Inc.                                     1,100.00         0.00       0.00
59      Horizon Lines LLC                               675,448.12          0.00       0.00
60      Horizon Lines LLC                              1,312,157.85         0.00       0.00
61      Ladyhawk Specialized Transport                     2,100.00         0.00       0.00
62      Fast Logistics, Inc.                               2,300.00         0.00       0.00
63      Watkins Trucking Co., Inc.                         1,000.00         0.00       0.00
64      United Vision Logistics                          10,950.00          0.00       0.00
65      Texas Continental Express                          3,100.00         0.00       0.00
66      Mercer Transportation Company                          0.00         0.00       0.00
68      Hayden Transportation, LLC                          775.00          0.00       0.00
69      CSS Trucking, LLC                                  2,425.00         0.00       0.00
70      Leonard's Express, Inc.                          82,389.98          0.00       0.00
71      MPALA Logistics, LLC                               1,100.00         0.00       0.00
72      Acme Transportation Company                         147.25          0.00       0.00
73      US Department of Labor                                 0.00         0.00       0.00
74      Reliable Express LLC                               5,800.00         0.00       0.00
75U     Brother's Transportation LLC                       5,000.00         0.00       0.00
78      Nussbaum Transportation Services, Inc.           77,296.91          0.00       0.00
79      Dohrn Transfer Co.                               14,052.33          0.00       0.00
80      ALCO Transportation, Inc.                          1,500.00         0.00       0.00
81      FedEx Custom Critical                                  0.00         0.00       0.00
82      Frontier Trading, Inc.                             3,300.00         0.00       0.00
83      Total Transportation Services, LLC               10,485.00          0.00       0.00
84      Laser Networking, Inc.                                 0.00         0.00       0.00
85      R. G. Hawkes Trucking, Inc.                      53,760.00          0.00       0.00
86      Dun & Bradstreet                                       0.00         0.00       0.00
86 -2   Dun & Bradstreet                                 14,549.50          0.00       0.00
87      Smooth Operators, Inc.                             1,000.00         0.00       0.00
88      Smooth Traffic Resource Logistics, LLC             6,300.00         0.00       0.00
89      Mercury Transportation, Inc.                     12,700.00          0.00       0.00
91      Brown Trucking                                         0.00         0.00       0.00
92      Dash Courier Service, LLC                           576.66          0.00       0.00




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93       Integrity Transportation                            4,250.00          0.00       0.00
95       HDZ Transportation Co.                              6,125.00          0.00       0.00
96       Bober Transport, Inc                                1,800.00          0.00       0.00
97       Kenzies Transport                                   1,100.00          0.00       0.00
98       Southeastern Freight Lines, Inc.                        0.00          0.00       0.00
99       Kelley Logistics                                        0.00          0.00       0.00
99 -2    Kelley Logistics                                        0.00          0.00       0.00
ETA      Enterprise Technology Alliance, Inc.              120,000.00          0.00       0.00
100      Dayton Freight Lines, Inc.                              0.00          0.00       0.00
100 -2   Dayton Freight Lines, Inc.                        194,492.72          0.00       0.00
101      Black Rock Trucking, Inc.                          49,251.33          0.00       0.00
102      Evans Equipment                                      900.00           0.00       0.00
103      Amerisource Funding, Inc. Assignee for:             1,300.00          0.00       0.00
104      Landstar Ranger                                   126,571.60          0.00       0.00
105      Dunavant Trans Gulf Transportation, LLC             1,876.50          0.00       0.00
106      Ovalos Trucking                                     8,200.00          0.00       0.00
107      FedEx TechConnect, Inc.                                 0.00          0.00       0.00
107 -2   FedEx TechConnect, Inc.                           272,903.17          0.00       0.00
109      KALM Transportation Inc.                             750.00           0.00       0.00
110      KLM Logistics, LLC                                  1,000.00          0.00       0.00
111      Thunder Carrier Services, LLC                       9,200.00          0.00       0.00
112      Morrell & Morrell, LP                                900.00           0.00       0.00
113      Rich-Co Transportation, Inc.                        2,200.00          0.00       0.00
114      ABF Freight System, Inc.                            1,485.35          0.00       0.00
115      PAC Freight, Inc                                    1,800.00          0.00       0.00
116      Paul Demarco Trucking                                   0.00          0.00       0.00
116 -2   Paul Demarco Trucking                                   0.00          0.00       0.00
117      F & L Trucking, Inc.                                    0.00          0.00       0.00
118      Nu-Born Express                                    52,554.63          0.00       0.00
119      XPO Express formerly Express-1                    200,669.54          0.00       0.00
120      Davis Freight Management, Inc.                      4,025.00          0.00       0.00
121      Dugan Truck Line                                    1,221.73          0.00       0.00
122      Dugan Truck Line                                  122,173.00          0.00       0.00




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123      Turner Trnasportation Group                       800.00           0.00       0.00
124      Ben R. Brown Trucking Inc.                       1,550.00          0.00       0.00
125      Averittt Express, Inc.                          12,458.08          0.00       0.00
126      AM/PM Express, Inc.                             22,720.14          0.00       0.00
127      Brown Trucking                                       0.00          0.00       0.00
128      Panther Premium Logistics, Inc.                186,886.70          0.00       0.00
129      Kaplan Trucking                                  1,800.00          0.00       0.00
130      M.O.T. Intermodal Shipping USA Inc.             52,927.86          0.00       0.00
132      Arnold Interstate Group, Inc.                    8,200.00          0.00       0.00
133      Jordan Carriers, Inc.                            4,977.50          0.00       0.00
134      Texas Best Logistics, LLC                         850.00           0.00       0.00
135      New England Motor Freight, Inc.                104,391.92          0.00       0.00
136      Southern Christian Transportation                    0.00          0.00       0.00
139      Elk Valley Distribution, Inc.                     900.00           0.00       0.00
140      Three Rivers Xpress                               850.00           0.00       0.00
141      Anchor 36, LLC                                       0.00          0.00       0.00
141 -2   Anchor 36, LLC                                   6,300.00          0.00       0.00
142      MTM Logistics, LLC                                550.00           0.00       0.00
143      Werner Enterprises, Inc.                        11,065.56          0.00       0.00
144      R & L Carriers, Inc.                           404,935.44          0.00       0.00
145      Command Transportation, LLC                    110,085.00          0.00       0.00
146      GE Capital Information Technology                3,300.93          0.00       0.00
147      ACI Motor Freight                                4,522.95          0.00       0.00
148      Trans-Lease, Inc.                                1,300.00          0.00       0.00
149      Pilot Freight Services - LAX                    45,934.33          0.00       0.00
150      Albaad USA, Inc.                                     0.00          0.00       0.00
150 -2   Albaad USA, Inc.                                     0.00          0.00       0.00
151      Hills Trucking                                  31,290.64          0.00       0.00
152      Lester M Entin Associates dba Harrison         215,530.01          0.00       0.00
         Indus Plz
153      Bama Freight                                         0.00          0.00       0.00
153 -2   Bama Freight                                     6,156.00          0.00       0.00
154      Marlin Trucking                                  2,940.00          0.00       0.00




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155      Jahannaica Enterprise Trucking                     184.00           0.00       0.00
156      AT&T Mobility II LLC                              4,735.62          0.00       0.00
157      TriMark USA LLC                               1,402,108.15          0.00       0.00
158      United Parcel Service, Inc.                    113,395.84           0.00       0.00
159      Marlin Enterprises, LLC                        686,995.18           0.00       0.00
160      Stone Trucking Company                            1,000.00          0.00       0.00
161      Stone Trucking Company                            7,200.00          0.00       0.00
162      Sowles Co.                                      40,619.00           0.00       0.00
163      Exquisite Freight, LLC                             675.00           0.00       0.00
165      Salem Carriers, Inc.                                  0.00          0.00       0.00
166      Salem Leasing Corp.                             16,754.11           0.00       0.00
167      YRC, Inc. dba YRC Freight                             0.00          0.00       0.00
168      Carlisle Wide Plank Floors, LLC                   1,500.00          0.00       0.00
169      USF Reddaway, Inc.                             535,722.00           0.00       0.00
170      USF Holland, Inc.                                     0.00          0.00       0.00
171      New Penn Motor Express, Inc.                    10,828.00           0.00       0.00
172      DRM Trucking                                    57,420.00           0.00       0.00
173      ACE American Insurance Company                 974,205.58           0.00       0.00
174      Ponce de Len Hospitality Corp. dba Holiday            0.00          0.00       0.00
         Inn
174 -2   Ponce de Len Hospitality Corp. dba Holiday     152,278.00           0.00       0.00
         Inn
175      The Middleby Corporation and Certain                  0.00          0.00       0.00
         Affiliates
176      Anchor 36 Logistics, LLC                          5,860.00          0.00       0.00
177      Stradley Ronon Stevens & Young, LLP               8,311.52          0.00       0.00
178      RAC Welton, Inc.                               269,031.34           0.00       0.00
179      H. I. Mayaguez, Inc                            456,016.56           0.00       0.00
180U     The Tranzonic Companies, Inc.                 1,093,033.24          0.00       0.00
182      Benton Global                                  274,812.96           0.00       0.00
183      Vestas-American Wind Technology, Inc.                 0.00          0.00       0.00
183 -2   Vestas-American Wind Technology, Inc.           50,000.00           0.00       0.00
184      AW North Carolina Inc.                                0.00          0.00       0.00
185      Quickie Manufacturing Corporation                     0.00          0.00       0.00




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 186           Quickie Manufacturing Corporation                          0.00                0.00             0.00
 187           Quickie Manufacturing Corporation                          0.00                0.00             0.00
 189           Estes Express Lines                                    1,339.94                0.00             0.00
 190           Internal Revenue Service                               2,736.14                0.00             0.00
 198 -2        Oakland County Treasurer                               2,456.24                0.00             0.00
 200           Panther II Transportation, Inc.                      45,000.00                 0.00             0.00
 201           Estes Express Lines                                  10,168.96                 0.00             0.00
 202           Carrier Cash, LLC dba Pay4Freight.com                80,000.00                 0.00             0.00
 203           G-Squared Partners, LLC                              40,000.00                 0.00             0.00
 204           Freedom Trans USA, LLC                               35,000.00                 0.00             0.00
AURUBIS        Aurubis Buffalo, Inc.                                      0.00                0.00             0.00
                            Total to be paid for timely general unsecured claims:         $                  0.00
                            Remaining balance:                                            $                  0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 287,014.15 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 188           Freight Trans, Inc.                                        0.00                0.00             0.00
 188 -2        Freight Trans, Inc.                                 108,650.00                 0.00             0.00
 191           Laser Networking, Inc.                                     0.00                0.00             0.00
 194           Truck & Trailer Carolina, Inc.                         4,609.33                0.00             0.00
 195           Pitt Ohio, LLC                                       45,998.99                 0.00             0.00
 196           Acme Truck Line, Inc.                                26,322.90                 0.00             0.00
 197           Lockwood International, Inc.                        101,432.93                 0.00             0.00
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/Alfred T. Giuliano, Trustee (DE)
                                                                                      Trustee

             Alfred T. Giuliano, Trustee (DE)
             2301 E. Evesham Road
             Pavilion 800, Suite 210
             Voorhees, NJ 08043
             (856) 767-3000


             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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